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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                                    WESTERN DIVISION
  11    JUAN CARLOS CORRAL,                         Case No. 2:22-cv-01254 MCS (PVCx)
        individually and on behalf of all
  12    similarly situated and/or aggrieved         (Assigned to Honorable Mark C. Scarsi)
        employees of Defendants in the State of
  13    California,                                 STIPULATION AND ORDER TO
                                                    SUPPLEMENT THE PROTECTIVE
  14                       Plaintiff,               ORDER REGARDING
                                                    CONFIDENTIAL INFORMATION
  15          v.                                    WITH HEIGHTENED LEVELS OF
                                                    CONFIDENTIALITY
  16    STAPLES THE OFFICE
        SUPERSTORE LLC, a limited liability
  17    company authorized to do business in        CLASS ACTION
        the state of California, and DOES 1
  18    through 50 inclusive,                       Courtroom: 7C
  19                       Defendants.              Complaint Filed: November 12, 2021
  20                                                (Removed from Los Angeles Superior
  21                                                Court, Case No. 21STCV41815)
  22
  23
              Recognizing the need for heightened levels of protection for certain
  24
        documents to be designated as “Highly Confidential –Attorneys’ Eyes Only,”
  25
        plaintiff Juan Carlos Corral and defendant Staples The Office Superstore, LLC
  26
        (collectively, the “Parties”), by and through their respective counsel of record,
  27
        stipulate to and petition the Court to enter the following supplement to the
  28
       STIPULATION AND ORDER TO SUPPLEMENT
       PROTECTIVE ORDER
                                                   1
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   1     “Stipulated Protective Order” (“Protective Order”) entered by the Court on May 13,
   2     2022 as follows:
   3     Article I.   Good Cause Statement.
   4           This is a putative class and PAGA representative action that is likely to
   5     involve discovery regarding trade secrets, commercial, financial, proprietary, and/or
   6     personal information for which special protection from public disclosure and from
   7     use for any purpose other than prosecution or defense of this action is warranted.
   8     Certain confidential and proprietary materials and information should be considered
   9     highly confidential because disclosure of such information would create substantial
  10     risk of serious financial or other injury that cannot be avoided by less restrictive
  11     means. Accordingly, to expedite the flow of information, to facilitate the prompt
  12     resolution of disputes over the confidentiality of discovery materials, to adequately
  13     protect information the Parties are entitled to keep highly confidential, to ensure
  14     that the Parties are permitted reasonably necessary uses of such material in
  15     preparation for and in the conduct of trial, to address their handling at the end of the
  16     litigation, and to serve the ends of justice, a supplement to the Protective Order for
  17     such information is justified in this matter. It is the intent of the Parties that
  18     information will not be designated as highly confidential for tactical reasons and
  19     that nothing be so designated without a good faith belief that it has been maintained
  20     in a highly confidential, non-public manner, and there is good cause why it should
  21     not be part of the public record of this case.
  22     Article II. Supplement to Protective Order.
  23           This is a supplement to the Parties’ Protective Order. All definitions and
  24     provisions in the May 13, 2022 Protective Order remain valid unless otherwise
  25     explicitly stated herein. All terms, including but not limited to the designation,
  26     production, and use of confidential documents, apply to the heightened designation
  27     of “Highly Confidential – Attorneys’ Eyes Only,” unless otherwise stated herein.
  28     Article III. Supplemental Definitions.
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       PROTECTIVE ORDER
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   1           1.      “Highly Confidential – Attorneys’ Eyes Only” means any information
   2     which belongs to a Designating Party who believes in good faith that the Disclosure
   3     of such information to another Party or non-Party would create a substantial risk of
   4     serious financial or other injury that cannot be avoided by less restrictive means.
   5           2.      “Highly Confidential Materials” means any Documents, Testimony, or
   6     Information designated as “Highly Confidential – Attorneys’ Eyes Only” pursuant
   7     to the provisions of the Parties’ May 13, 2022 Protective Order and this Stipulation
   8     and Order to Supplement the Protective Order.
   9     Article IV. Designation of Confidential – Attorneys’ Eyes Only.
  10           Any document or tangible thing disclosed in the action that is reasonably
  11     believed to be “Highly Confidential – Attorneys’ Eyes Only” by a Party producing
  12     the same shall be designated as such by marking the document or thing as
  13     “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY” prior to
  14     production.
  15     Article V. Limited Disclosure of Confidential Information.
  16           Highly Confidential Materials designated as “HIGHLY
  17     CONFIDENTIAL—ATTORNEYS’ EYES ONLY” may be disclosed only to the
  18     following persons:
  19           (a)     The Court;
  20           (b)     (1) Attorneys of record in the Proceedings and their affiliated
  21     attorneys, paralegals, clerical and secretarial staff employed by such attorneys who
  22     are actively involved in the Proceedings and are not employees of any Party.
  23     (2) In-house counsel to the undersigned Parties and the paralegal, clerical and
  24     secretarial staff employed by such counsel. Provided, however, that each non-
  25     lawyer given access to Highly Confidential Materials shall be advised that such
  26     Materials are being disclosed pursuant to, and are subject to, the terms of this
  27     Stipulation and Protective Order and that they may not be disclosed other than
  28     pursuant to its terms;
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       PROTECTIVE ORDER
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   1           (c)    court reporters and videographers in this Proceeding (whether at
   2     depositions, hearings, or any other proceeding);
   3           (d)    outside experts or expert consultants consulted by the undersigned
   4     Parties or their counsel in connection with the Proceeding, whether or not retained
   5     to testify at any oral hearing; subject to the terms set forth in Article VI (Non-
   6     Disclosure Agreement), below;
   7           (e)    any other person that the Designating Party agrees to in writing.
   8           Disclosure of Highly Confidential Materials designated as “HIGHLY
   9     CONFIDENTIAL—ATTORNEYS’ EYES ONLY” must be limited to the
  10     persons identified in (a) through (e) above. Confidential Materials, as defined in
  11     the Parties’ Protective Order, and designated as “CONFIDENTIAL” under the
  12     Protective Order may be disclosed as provided in Paragraph 7 of the Protective
  13     Order.
  14     Article VI. Non-Disclosure Agreement.
  15           Counsel for the Party who intends to disclose Highly Confidential Materials
  16     to any outside experts or expert consultants consulted by the undersigned Parties or
  17     their counsel in connection with the Proceeding, whether or not retained to testify at
  18     any oral hearing, shall be responsible for delivering a copy of the Parties’ May 13,
  19     2022 Protective Order and this Stipulation and Order to Supplement the Protective
  20     Order to such person, shall explain its terms to such person, and shall secure the
  21     signature of such person on a statement in the form attached hereto as Exhibit 1
  22     prior to the Disclosure of Highly Confidential Materials, before disclosing any
  23     Highly Confidential Materials to that person. An expert or expert consultant
  24     receiving both Confidential Materials and Highly Confidential Materials must
  25     execute both Exhibit A to the May 13, 2022 Protective Order and Exhibit 1 to this
  26     Stipulation and Order to Supplement the Protective Order. Each Exhibit A and
  27     Exhibit 1 executed by an expert or consultant shall be retained by the procuring
  28     counsel and need not be produced to opposing counsel during the action except as
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   1     necessary in the case of a dispute concerning a violation of this Stipulation. It shall
   2     be the obligation of counsel, upon learning of any breach or threatened breach of
   3     the Parties’ May 13, 2022 Protective Order and this Stipulation and Order to
   4     Supplement the Protective Order by any such expert or expert consultant, to
   5     promptly notify counsel for the Designating Party of such breach or threatened
   6     breach.
   7           This Stipulation and Protective Order may be executed in counterparts.
   8
   9     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

  10     FOR GOOD CAUSE SHOWN BY THE PARTIES’ STIPULATION, IT IS SO
  11
         ORDERED.
  12
  13
  14
         DATED: October 27, 2022                    _________________________________
  15                                                HON. PEDRO V. CASTILLO
                                                    United States Magistrate Judge
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       PROTECTIVE ORDER
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   1                                            EXHIBIT 1
   2              CERTIFICATION RE HIGHLY CONFIDENTIAL DISCOVERY MATERIALS
   3              I hereby acknowledge that I, ___________________________________
         [NAME], ______________________________________________ [POSITION
   4
         AND EMPLOYER], am about to receive Highly Confidential Materials supplied
   5
         in connection with the Proceeding, Juan Carlos Corral v. Staples the Office
   6
         Superstore, LLC, U.S. District Court Case No. 2:22-cv-01254. I certify that I
   7
         understand that the Highly Confidential Materials are provided to me subject to
   8     the terms and restrictions of the Stipulation and Protective Order and Stipulation
   9     and Order to Supplement the Protective Order filed in this Proceeding. I have been
  10     given copies of the Stipulation and Protective Order and Stipulation and Order to
  11     Supplement the Protective Order; I have read it, and I agree to be bound by its
  12     terms.
  13              I understand that Highly Confidential Materials, as defined in the
  14     Stipulation and Order to Supplement the Protective Order, including any notes or
         other records that may be made regarding any such materials, shall not be disclosed
  15
         to anyone except as expressly permitted by the Stipulation and Protective Order and
  16
         Stipulation and Order to Supplement the Protective Order. I will not copy or use,
  17
         except solely for the purposes of this Proceeding, any Highly Confidential
  18
         Materials obtained pursuant to this Stipulation and Order to Supplement the
  19     Protective Order, except as provided therein or otherwise ordered by the Court in
  20     the Proceeding.
  21              I further understand that I am to retain all copies of all Highly Confidential
  22     Materials provided to me in the Proceeding in a secure manner, and that all copies
  23     of such Highly Confidential Materials are to remain in my personal custody until
  24     termination of my participation in this Proceeding, whereupon the copies of such
  25     Highly Confidential Materials will be returned to counsel who provided me with
         such Highly Confidential Materials.
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       STIPULATION AND ORDER TO SUPPLEMENT
       PROTECTIVE ORDER
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   1           I declare under penalty of perjury, under the laws of the United States, that
   2     the foregoing is true and correct.
         DATED:_________________________               By: ________________________
   3                                                         Signature
                                                       ____________________________
   4                                                   Title
                                                       ____________________________
   5                                                   Address
                                                       ____________________________
   6                                                   City, State, Zip
                                                       ____________________________
   7                                                   Telephone Number
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       STIPULATION AND ORDER TO SUPPLEMENT
       PROTECTIVE ORDER
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